                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )          No. 3:08-CR-175
                                                   )
 CLARK ALAN ROBERTS and                            )          (PHILLIPS/SHIRLEY)
 SEAN EDWARD HOWLEY,                               )
                                                   )
                       Defendants.                 )

                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case came before the Court on August 6, 2009, for a motion

 hearing on the Defendant Roberts’ Motion to Compel Discovery [Doc. 42] and Motion for Leave

 to File [Doc. 70], both of which Defendant Howley has moved [Docs. 43 and 71] to adopt. Assistant

 United States Attorney D. Gregory Weddle appeared on behalf of the government. Attorneys W.

 Thomas Dillard and Stephen Ross Johnson were present for Defendant Roberts. Attorney Douglas

 A. Trant represented Defendant Howley, who was also present.

                In the Motion to Compel Discovery [Doc. 42], the Defendants1 ask the Court to order

 the Government to provide them with discovery. Specifically, the Defendants ask for all of the



        1
         Defendant Howley has moved [Doc. 43] to adopt this motion. The Court GRANTS
 Defendant Howley’s request to adopt the Motion to Compel Discovery [Doc. 42]. As Defendant
 Howley’s motion [Doc. 43] seeks to adopt a number of other motions that are not presently
 before the Court, it will be left pending as to Defendant Howley’s adoption of the remaining
 motions.

                                                  1



Case 3:08-cr-00175-PLR-CCS Document 74 Filed 09/09/09 Page 1 of 7 PageID #: 345
 materials seized during the 2007 search of Wyco Tire Technology in Greenback, Tennessee,

 including the electronic materials that were imaged by the executing agents. Defendants also

 requested discovery on the alleged trade secrets in the Goodyear Swab Down device, Goodyear’s

 security measures and visitor forms, Defendant Robert’s statements to a Goodyear security guard

 and engineer, information including photographs of the similar device Wyco was allegedly building,

 and information concerning the scope of the electronic search on the Wyco servers and computers.

 In their Reply [Doc. 66], the Defendants state that the government produced technical drawings,

 schematics, photographs, and other items it believes document the trade secrets contained within the

 Swab Down device.

                The parties appeared on June 23, 2009, for a hearing on the Defendant’s Joint Motion

 to Continue the Trial. At that hearing, the Court briefly addressed the discovery issues. Defense

 counsel for Defendant Roberts related that they had received a large amount of discovery from the

 Government, which they were beginning to review, but that they were still missing some discovery,

 mainly relating to items seized during the search of Wyco. The government agreed to provide the

 remaining materials seized in the search of Wyco and the Goodyear forms. The Court continued the

 trial date and set a schedule for hearings on the pending motions. In the Memorandum and Order

 [Doc. 69] continuing the trial, the Court directed the parties to make any motions regarding new or

 continuing discovery issues by July 24, 2009.

                On July 24, 2009, the Defendants2 filed a Motion for Leave to File [Doc. 70] a

 Second Motion to Compel Discovery and for Production of Rule 16(a)(1)(G) Materials. In the


        2
         The Motion for Leave to File [Doc. 70] was filed by Defendant Roberts. Defendant
 Howley has moved [Doc. 71] to adopt this motion. Defendant’ Howley’s Motion to Adopt [Doc.
 71] the Motion for Leave to File is GRANTED.

                                                  2



Case 3:08-cr-00175-PLR-CCS Document 74 Filed 09/09/09 Page 2 of 7 PageID #: 346
 motion for leave, the Defendants argue that they should be allowed to file the attached discovery

 motion out of time because the Government has provided additional discovery following the

 expiration of the deadline for filing pretrial motions. They maintain that the attached discovery

 motion relates to these new discovery materials, which were not previously available to the

 Defendants. The Government responds [Doc. 72] to the substance of the underlying discovery

 motion, rather than the request for leave to file out of time. Pursuant to Rule 12 of the Federal Rules

 of Criminal Procedure, this Court may set a deadline for the parties to file pretrial motions, and it

 is within the Court’s discretion to extend this deadline and grant relief from the waiver that normally

 attaches to motions not filed within this deadline, where good cause has been shown. Fed. R. Crim.

 P. 12(c), (e). Because the second discovery motion which the Defendants seek leave to file relates

 to discovery materials not previously available to the Defendants, the Court finds that the

 Defendants have shown good cause for relief from waiver with respect to this particular motion.

 Accordingly, the Defendants’ Motion for Leave [Doc. 70] to file a second discovery motion out of

 time is GRANTED, and the Court will address the substantive merits of the attached discovery

 motion [Doc. 70-1].

                In their Second Motion to Compel Discovery and for Production of Rule 16(a)(1)(G)

 Materials, the Defendants state that on July 20, they received additional discovery from the

 Government, including a 600 gigabyte hard drive. Although they could view the folder structure

 on the hard drive, they were unable to open and read the data, so they engaged a forensic computer

 firm to convert the drive’s contents into a format they can review. The Defendants state it appears

 that the hard drive contains copies of all the images made by agents executing the search warrant

 at Wyco on September 25, 2007. The Defendants also contend that the Government still has not


                                                   3



Case 3:08-cr-00175-PLR-CCS Document 74 Filed 09/09/09 Page 3 of 7 PageID #: 347
 provided the evidence that the Government intends to use in its case in chief to show that the items

 in question meet the legal definition of trade secrets. If the Government will provide this evidence

 through the testimony of experts, the Defendants ask the Court to compel early disclosure of such

 experts under Rule 16(a)(1)(G), because receipt of this information three weeks before trial, as

 directed by the Court’s Order on Discovery and Scheduling [Doc. 11], will require the Defendants

 to ask for a trial continuance. Finally, the Defendants ask to be allowed to raise any other discovery

 issues necessitated by their review of the recently received discovery materials.

                The Government responds [Doc. 72] that it has provided far more in discovery than

 the Defendants are entitled to receive under Rule 16. With regard to the materials recently disclosed

 to the Defendants, the Government states that it previously provided an image of the Wyco email

 server and an image of Defendant Howley’s laptop computer. It maintains that the recently

 disclosed hard drive, which it provided at the Defendants’ request, is not material to this case nor

 intended to be introduced in the Government’s case in chief. Thus, it concludes that nothing that

 was recently disclosed to the Defendants’ should necessitate the need for additional motions.

 Secondly, the Government maintains that the Defendants are not entitled to an outline of how it

 intends to try its case, specifically the trade secrets issue. It contends that an email from Defendant

 Roberts reveals that the Defendants know the nature of this trade secrets case and do not need early

 disclosure of the Governments’ expert(s) before obtaining their own expert(s). Additionally, the

 Government states that it has provided the Defendants with a schematic diagram and the

 surreptitiously taken photographs of the Goodyear turn-up device, which photographs have been

 marked by Goodyear personnel to identify the parts of the device that are trade secrets.

                At the August 6 hearing, defense counsel for Defendant Roberts stated that the day


                                                   4



Case 3:08-cr-00175-PLR-CCS Document 74 Filed 09/09/09 Page 4 of 7 PageID #: 348
 before, he had received the reformatted hard drive, but he had not had time to review it yet. He said

 the Defendants were seeking to preserve any additional discovery issues that might be revealed by

 the review of the recently disclosed discovery. Additionally, he argued that he needed early

 disclosure of the Government’s experts in order to allow the Defendants time to obtain their own

 experts, especially in light of the restrictions in the protective order. Defense counsel acknowledged

 that they had received the schematic drawings and the photographs with the markings by Goodyear.

 The Defendants stated that they still did not have discovery of any documents that the Government

 would use to prove the measures Goodyear took to protect the alleged trade secrets and the

 economic value derived from the alleged trade secrets.

                AUSA Weddle responded that the Government had provided everything that was

 taken pursuant to the search warrant. He stated that the FBI had imaged the hard drive and that he

 did not know why the Defendants could not open it because no forensic software was employed.

 With regard to the measures to preserve trade secrets and the economic value, Mr. Weddle stated

 that the Government had provided in the first round of discovery any documents upon which it

 intended to rely. He said the Government will also rely on lay and expert testimony. He stated that

 the Government disclosed to the Defendants the other server imaged pursuant to the search warrant,

 although the Government did not intend to use the information therein in its case in chief. AUSA

 Weddle stated that server contained no information relating to the measures to preserve trade secrets

 or the economic value derived from the trade secrets. He maintained that the universe of discovery

 that the Government had provided that was relevant to these issues is small. The Government

 agreed to provide Rule 16(1)(a)(G) disclosure of its experts by November 30, 2009. The Defendants

 agreed to provide the reciprocal disclosure with regard to their experts by January 8, 2010.


                                                   5



Case 3:08-cr-00175-PLR-CCS Document 74 Filed 09/09/09 Page 5 of 7 PageID #: 349
                 After reviewing the parties’ briefs and hearing their arguments and representations

 at the two hearings, the Court finds that the Government has provided the discovery at issue.

 Indeed, the only potential area of dispute related to any documents that the Government intended

 to use to prove the measures taken to preserve the alleged trade secrets and the economic value

 derived from the trade secrets. The Government affirmatively represented to the Court that it had

 provided all of this documentation to the Defendants in the first round of discovery and that the

 universe of materials relating to these issues was small. Additionally, the Government stated that

 it would rely on lay and expert testimony to prove these points. In this regard, the parties have

 agreed to a schedule for early disclosure of experts in this case. Accordingly, the Court finds that

 the Motion to Compel [Doc. 42] is DENIED as moot. The Second Motion to Compel Discovery

 and for Production of Rule 16(a)(1)(G) Materials [Doc. 70-1] is GRANTED in part in that the

 parties will both provide early disclosure of expert materials and DENIED in part in that the Court

 finds no need to compel further discovery or to permit additional motions with regard to discovery,

 as it finds that the Government has provided the discovery at issue. If the parties have other, new

 discovery problems in the future that they cannot resolve on their own, then they may file a motion

 for leave to file the discovery motion, attaching, as the Defendants have in this instance, the motion

 they seek to file.

                 Accordingly, it is ORDERED:

                 (1) Defendant Howley’s request to adopt the Motion to Compel and
                 motion [Doc. 71] to adopt the Motion for Leave are GRANTED;

                 (2) The Defendants’ Motion for Leave [Doc. 70] to file a second
                 discovery motion out of time is GRANTED;

                 (3) The Defendants’ Motion to Compel [Doc. 42] is DENIED as
                 moot;

                                                   6



Case 3:08-cr-00175-PLR-CCS Document 74 Filed 09/09/09 Page 6 of 7 PageID #: 350
             (4) The Defendants’ Second Motion to Compel Discovery and for
             Production of Rule 16(a)(1)(G) Materials [Doc. 70-1] is GRANTED
             in part in that the parties will both provide early disclosure of expert
             materials and DENIED in part in that the Court finds no need to
             compel discovery or to permit additional motions with regard to
             discovery because the Government has provided the discovery at
             issue;

             (5) The Government shall provide Rule 16 disclosure of its experts
             by November 30, 2009;

             (6) The Defendants shall provide Rule 16 disclosure of their experts
             by January 8, 2010;

             (7) A hearing on the remaining non-evidentiary motions is set for
             September 10, 2009, at 9:30 a.m.; and

             (8) An evidentiary hearing on the pending suppression motions is set
             for October 14, 2009, at 1:00 p.m.

             IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




                                                7



Case 3:08-cr-00175-PLR-CCS Document 74 Filed 09/09/09 Page 7 of 7 PageID #: 351
